Case 8:22-cv-00868-JVS-ADS Document 52-1 Filed 09/13/22 Page 1 of 3 Page ID #:1197



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   15    Attorneys for Plaintiff
   16                         UNITED STATES DISTRICT COURT
   17                        CENTRAL DISTRICT OF CALIFORNIA
                                   SOUTHERN DIVISION
   18
         TREVOR BAUER,                              Case No. 8:22-cv-00868-JVS-ADS
   19                                               Assigned for all purposes to the Hon.
                             Plaintiff,             James V. Selna
   20
               v.                                   DECLARATION OF BLAIR G.
   21                                               BROWN IN SUPPORT OF
         LINDSEY C. HILL and NIRANJAN               PLAINTIFF/COUNTERCLAIM
   22    FRED THIAGARAJAH,                          DEFENDANT TREVOR BAUER’S
                                                    REQUEST FOR JUDICIAL NOTICE
   23                                               IN SUPPORT OF HIS MOTION TO
                             Defendants.            DISMISS THE COUNTERCLAIM
   24                                               COMPLAINT
   25                                               Hearing Date: November 21, 2022
                                                    Hearing Time: 1:30 p.m.
   26                                               Department: 10C
   27                                               Action Filed: April 25, 2022
   28

                                                                      DECL. OF BLAIR G. BROWN
                                                                   Case No. 8:22-cv-00868-JVS-ADS
Case 8:22-cv-00868-JVS-ADS Document 52-1 Filed 09/13/22 Page 2 of 3 Page ID #:1198



    1         I, BLAIR G. BROWN, declare and state as follows:
    2         1.     I am an attorney licensed to practice in the District of Columbia, the
    3   State of Maryland, the State of Virginia, and the State of New York and have been
    4   admitted to practice pro hac vice in this action. I am a partner of the law firm
    5   Zuckerman Spaeder LLP, and counsel of record for Plaintiff/Counterclaim
    6   Defendant Trevor Bauer in the above-captioned action. I have personal knowledge
    7   of the matters stated in this declaration, and I could and would testify competently
    8   about them if called upon to do so.
    9         2.     Attached to this declaration as Exhibit A is a true and correct copy of
   10   the domestic violence restraining order petition filed by Defendant/Counterclaim
   11   Plaintiff Lindsey C. Hill in the prior proceeding before the Los Angeles Superior
   12   Court captioned In re Matter of Hill/Bauer, Case No. 21STRO03198.
   13         3.     Attached to this declaration as Exhibit B is a true and correct copy of
   14   the full transcript of the hearings held before the Los Angeles Superior Court in In re
   15   Matter of Hill/Bauer, Case No. 21STRO03198 on July 23, August 9, and August 16
   16   through 19 of 2021.
   17         4.     Attached to this declaration as Exhibit C is a true and correct copy of
   18   the Los Angeles County District Attorney Charge Evaluation Sheet, dated February
   19   8, 2022, in which the District Attorney declined to charge Mr. Bauer with a crime.
   20         5.     Attached to this declaration as Exhibit D is a true and correct copy of a
   21   video produced to counsel for Mr. Bauer by the custodian of records of the Pasadena
   22   Police Department pursuant to a valid subpoena. The Pasadena Police Department
   23   produced the video in response to a document request asking for “[a]ny videos or
   24   recordings made by Lindsey Hill while she was at Trevor Bauer’s residence on April
   25   21, 2021 and May 15-16, 2021, respectively.”
   26         6.     I declare under penalty of perjury that the foregoing is true and correct.
   27
   28

                                                                       DECL. OF BLAIR G. BROWN
                                                                    Case No. 8:22-cv-00868-JVS-ADS
Case 8:22-cv-00868-JVS-ADS Document 52-1 Filed 09/13/22 Page 3 of 3 Page ID #:1199



    1   Executed this 13th day of September, 2022, in Washington, D.C.
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    3                                             /s/ Blair G. Brown
                                                  Blair G. Brown
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                                                                   DECL. OF BLAIR G. BROWN
                                                                Case No. 8:22-cv-00868-JVS-ADS
